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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  DAWN M. FRENCH,

            Plaintiff,
  v.                                                                      Case: 1:21-cv-24274
  LIFE INSURANCE COMPANY OF
  NORTH AMERICA,

                  Defendant,
  __________________________________________________/
                                         MEDIATION REPORT
  Pursuant to Notice of Mediation filed with the court, a mediation conference was scheduled. Pursuant to
  the Notice of Mediation on 4-8-2022 at the Zoom mediation conference:

  ( XX ) Plaintiff/Counsel Appeared                            (      ) Plaintiff/Counsel did not Appear


  ( XX ) Defendant/Counsel Appeared                        (       ) Defendant/Counsel did not Appear

  PLAINTIFF'S ATTORNEY/FIRM:
  Geannina Burgos, Esq./ Emily Quirino Esq
  Dabdoub Law Firm, PA.
  1600 Ponce de Leon Blvd., Suite 1202
  Coral Gables, FL 33134
  DEFENDANT’S ATTORNEY/FIRM:
  Shari L. Gerson, Esq.
  Gray Robinson
  401 E. Las Olas Boulevard, Suite 1000
  Ft. Lauderdale, FL 33301

  RESULTS: (Mediation Results Report will be filed electronically)
  (xx ) Full Settlement Agreement
  ( )   Partial Settlement Agreement
  ( )   No Settlement Agreement
  ( )   Continued (Date)

  LENGTH OF MEDIATION CONFERENCE:                         5.5 Hours
                                                   /s/ Jack L Townsend, Sr.
                                                  MEDIATOR: Jack L. Townsend, Sr., Mediator
                                                  6408 E. Fowler Avenue, Tampa, FL 33617
